Case 1:20-bk-11784-MB   Doc 52 Filed 12/10/20 Entered 12/10/20 11:18:18   Desc
                        Main Document     Page 1 of 10
Case 1:20-bk-11784-MB   Doc 52 Filed 12/10/20 Entered 12/10/20 11:18:18   Desc
                        Main Document     Page 2 of 10
Case 1:20-bk-11784-MB   Doc 52 Filed 12/10/20 Entered 12/10/20 11:18:18   Desc
                        Main Document     Page 3 of 10
Case 1:20-bk-11784-MB   Doc 52 Filed 12/10/20 Entered 12/10/20 11:18:18   Desc
                        Main Document     Page 4 of 10
Case 1:20-bk-11784-MB   Doc 52 Filed 12/10/20 Entered 12/10/20 11:18:18   Desc
                        Main Document     Page 5 of 10
Case 1:20-bk-11784-MB   Doc 52 Filed 12/10/20 Entered 12/10/20 11:18:18   Desc
                        Main Document     Page 6 of 10
Case 1:20-bk-11784-MB   Doc 52 Filed 12/10/20 Entered 12/10/20 11:18:18   Desc
                        Main Document     Page 7 of 10
Case 1:20-bk-11784-MB   Doc 52 Filed 12/10/20 Entered 12/10/20 11:18:18   Desc
                        Main Document     Page 8 of 10
Case 1:20-bk-11784-MB   Doc 52 Filed 12/10/20 Entered 12/10/20 11:18:18   Desc
                        Main Document     Page 9 of 10
Case 1:20-bk-11784-MB   Doc 52 Filed 12/10/20 Entered 12/10/20 11:18:18   Desc
                        Main Document    Page 10 of 10
